     Case 4:18-cv-00898       Document 136        Filed on 05/27/21 in TXSD       Page 1 of 1
                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                       IN THE UNITED STATES DISTRICT COURT                               May 27, 2021
                       FOR THE SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

LISA GAYLE BUTLER and DAVID A.                   §
HOLLAND, individually and as personal            §
representatives of the ESTATE OF MATY            §
GAYLE HOLLAND, DECEASED,                         §
                                                 §
                       Plaintiffs,               §
                                                 §
v.                                               §           CIVIL ACTION NO. H-18-898
                                                 §
JUNO THERAPEUTICS, INC.,                         §
                                                 §
                                                 §
                       Defendant.                §

                                      FINAL JUDGMENT

        The motion for summary judgment filed by Juno Therapeutics, Inc., (Docket Entry

No. 100), is granted. The claims asserted against Juno by Lisa Butler and David Holland,

individually and as representatives of Maty Holland’s estate, are dismissed, with prejudice.

        The parties will pay their own costs of court.

        This is a final judgment.

               SIGNED on May 27, 2021, at Houston, Texas.



                                                     ___________________________________
                                                                 Lee H. Rosenthal
                                                          Chief United States District Judge




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